                            Case 2:23-cv-03354-JXN-JBC Document 1-1 Filed 06/19/23 Page 1 of 3 PageID: 13
                                                         Exhibit A to the Complaint
Location: Edison, NJ                                                                                     IP Address: 68.197.70.147
Total Works Infringed: 26                                                                                ISP: Optimum Online
 Work      Hashes                                                               UTC              Site           Published     Registered   Registration
 1         Info Hash: 3D74ED835F96851E1D872CDFE806172D31D58719                          06-12-   Blacked        05-29-2023    06-09-2023   PA0002415372
           File Hash:                                                                     2023   Raw
           7B227EC52AD2947808AB5AD555CF7AA03E6DB078ECD67581F63553D60156E5A0           14:08:07
 2         Info Hash: 0DBF25B7D2F0F81C72BE1B7419AD7F72BC27BFC1                          06-05-   Blacked        04-19-2023    05-14-2023   PA0002411264
           File Hash:                                                                     2023   Raw
           EE2171AFEF9CCACB672C580C5E6B64ABF837EB6811EDC93432D9F28620FFD7FB           03:34:58
 3         Info Hash: 8E6BB02CD149633559388FBF5770D2141BC060CB                          05-16-   Vixen          05-12-2023    06-09-2023   PA0002415370
           File Hash:                                                                     2023
           702B7BF6362EB81A8C19D53B7C24D08FD012F90BE86128205638FEF6213A216C           00:22:56
 4         Info Hash: 677F8707DBCE02AAF8615B7675703C68B74375B2                          05-08-   Blacked        04-01-2023    04-07-2023   PA0002405761
           File Hash:                                                                     2023
           F99690C46146A04890C3C77277A19B20D03C814AF12000C32AFBCC114EB2C37E           10:52:55
 5         Info Hash: 35715998120E4934BEEFD7F4F50AAF323FDE732E                          04-20-   Tushy          04-16-2023    05-14-2023   PA0002411274
           File Hash:                                                                     2023
           255FDF4A2DFC3D182BEA301C297B889372478C7B59B9AC82AEC038D065CE14EF           13:25:41
 6         Info Hash: 54DDB381DB9B297FF4391C512E27E1628E1BF7C9                          04-12-   Tushy          04-09-2023    05-15-2023   PA0002411263
           File Hash:                                                                     2023
           C98C2FC3BD3645DB139308EE16424892DCD2FAC80768CEA3B2B4D8BA84A17BF6           00:14:34
 7         Info Hash: E1DC17F1E6B165394C514C08B55A305613F4AAE6                          03-07-   Blacked        02-23-2023    03-06-2023   PA0002399998
           File Hash:                                                                     2023   Raw
           FB14B0202BB679BDE513466782E98A1BE16635DF06633F94D5D6390605FA2618           04:03:59
 8         Info Hash: 1A26A196358C2C12445BC8122570365DEE727A70                          03-03-   Tushy          10-18-2020    11-05-2020   PA0002263388
           File Hash:                                                                     2023
           A5E4E4AA26374FE74D4F62B1BBBF99AD26104A1B6A6CEEE59E75309D3022702E           14:10:38
 9         Info Hash: BCEE2B201E8BE86D6E309C344A3457EA1E53277D                          02-12-   Tushy          01-08-2023    01-27-2023   PA0002393072
           File Hash:                                                                     2023
           E808D4CC998B33A513DD7C925B248A79D8F7D6D757C4E455A6806258CABE4D63           02:58:45
 10        Info Hash: 12CB3CAF76D76F88E13556704B1C13FC6902811E                          02-12-   Blacked        02-08-2023    03-06-2023   PA0002399990
           File Hash:                                                                     2023   Raw
           B1F01BFBFC6B3E923D7F6F8786EB2955B1D0EA2483E0866F5EC52B59A161DACB           01:46:52
 11        Info Hash: CB4EC1F25FFAD874268462833D653891B9ECD633                          01-14-   Blacked        12-31-2022    01-10-2023   PA0002389580
           File Hash:                                                                     2023
           D8422E88707AA9414A70FAA0DD5969D9A5F87EABA6E4F63618174E5384856243           04:51:25
                       Case 2:23-cv-03354-JXN-JBC Document 1-1 Filed 06/19/23 Page 2 of 3 PageID: 14

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 040C855A55FDB1891D0D9D6655F11D3DF0EC11F5                   12-27-   Vixen     09-09-2022   10-05-2022   PA0002373766
       File Hash:                                                              2022
       72F566FB4D1BDDF7E3087ADD2C9DF4D8431564B7602681FB07685B0A6086350C    05:42:16
13     Info Hash: C60686B993E19D6EA2BE4EAEF1099D09CA050695                   12-27-   Blacked   10-11-2022   10-31-2022   PA0002377831
       File Hash:                                                              2022   Raw
       5F82A986E0E58A79427CD69AC4464B240C51401C3F3ADA1C57CE1272EA84CAC3    05:41:41
14     Info Hash: 97DCF54C3B73D6BBDE490D88743A0C7DA092825E                   12-23-   Blacked   12-20-2022   01-09-2023   PA0002389608
       File Hash:                                                              2022   Raw
       11C2339FD910A4AB8D4A9F3CA3B45EE159ECA49E9EB522347DDD4662AC879B43    04:36:13
15     Info Hash: 102E275F06CD6433699975512D505CCABC08AC65                   12-23-   Tushy     12-18-2022   01-10-2023   PA0002389612
       File Hash:                                                              2022
       12135BB7D825A793CAEBAE9DD71A7DEF7964928EFC8476214BD93F1CB090D0A9    04:36:08
16     Info Hash: 649357DB13B2B11CDE20AFDA507F0BA540C1E838                   12-19-   Tushy     05-08-2022   05-20-2022   PA0002350382
       File Hash:                                                              2022
       2432AC32CA81B94D6B4F8A68B7954E9E5027BA19DECAF036B6C7B3CBEC93178F    02:18:20
17     Info Hash: A9529D5E514B171583C00DA79D5DEF1A31EF66AF                   12-18-   Blacked   12-10-2022   01-10-2023   PA0002389588
       File Hash:                                                              2022
       902FB516B52EBA213B6552E0FDF3489BD6A87B6D616732BA153A60FDF7337989    04:39:20
18     Info Hash: 27AE1E1034EA8BB067DFE05D0C8A6F35A4A4C51D                   12-18-   Blacked   01-29-2022   02-14-2022   PA0002335485
       File Hash:                                                              2022
       CDD56A4C5055860375D8539B9F2524A4013525256F75F6D3168EE368B7F65D3F    04:37:51
19     Info Hash: 28EDF2C62BADD8B3118351281610A387E51675A4                   12-10-   Blacked   11-26-2022   12-11-2022   PA0002384739
       File Hash:                                                              2022
       9E0B763F054683E00B053153692896D4087A9C22C2D32CF3E0D45C47940A3A3A    05:05:18
20     Info Hash: 43895C16236A6AD40F41D1A81D6F469DFD9E4B2D                   11-23-   Blacked   11-20-2022   12-11-2022   PA0002384733
       File Hash:                                                              2022   Raw
       DF629E1E14C9CBD62202A90F4996C5DE6462B28923D549010F5E936AD768A87A    15:25:46
21     Info Hash: 338981A824928AA763B9E3D9BDE9D25FD5AE168F                   11-14-   Tushy     09-25-2022   10-05-2022   PA0002373771
       File Hash:                                                              2022
       6D891684FA81001D494C68013471143BBC4D3997873DD9640460F3F031CF7CCA    03:09:02
22     Info Hash: 5FAD5594FE08DB19A522B5FE69ACEC5092BCE70E                   11-12-   Vixen     04-17-2020   04-22-2020   PA0002237694
       File Hash:                                                              2022
       6539C265D26F77A3A6B181568F0521172A9CAF10874D69E6F2F846992747DCF2    14:09:07
23     Info Hash: B3CF1BC90895F4A5C53C9B30A7EB76F20B525656                   11-12-   Blacked   09-29-2021   11-11-2021   PA0002321302
       File Hash:                                                              2022
       A92FCFF6E4F800D2DC258FF1F12F6581EDDC834A3A47873F8CAC6636C8636108    04:55:11
                       Case 2:23-cv-03354-JXN-JBC Document 1-1 Filed 06/19/23 Page 3 of 3 PageID: 15

Work   Hashes                                                             UTC       Site    Published    Registered   Registration
24     Info Hash: 1A8DCF0C152304F2BB246BDB17F0F9BF1AF0A33F                   11-12- Tushy   11-22-2020   11-30-2020   PA0002266355
       File Hash:                                                              2022
       87E07A405D15190CACF4C8AFA342BFB1677B86EBD7E48AF6A36013DE4CB7A190    04:50:29
25     Info Hash: 64B1CF36E0BBEFE524F9B00D3AB3C4CEE30A32D1                   11-06- Vixen   11-04-2022   12-11-2022   PA0002384755
       File Hash:                                                              2022
       E8D4C642319F403863E24B67B627565E176F423D267D0D2BD62D15D320E71989    12:19:06
26     Info Hash: 68FE67AB258A0D6022E32F1150E9C35596E4E767                   10-25- Vixen   10-21-2022   11-01-2022   PA0002378075
       File Hash:                                                              2022
       EDAC6D7360617F459F5927A39F705009B879937E579E603D4CCCD1A9E44A3110    11:23:36
